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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                              12/20/2024
 MELISSA COOPER,
             Plaintiff,                                  23-CV-09115 (VSB) (BCM)
        -against-
                                                         ORDER SCHEDULING SETTLEMENT
 MASS APPEAL MEDIA INC., et al.,                         CONFERENCE
             Defendants.

BARBARA MOSES, United States Magistrate Judge.

       A settlement conference is scheduled before Magistrate Judge Barbara Moses on February

12, 2025, at 2:15 p.m., in Courtroom 20A, 500 Pearl Street, New York, NY 10007. This is an in-

person proceeding.

               THE PARTIES ARE DIRECTED TO READ THIS ENTIRE
               ORDER CAREFULLY. FAILURE TO COMPLY WITH PRE-
               CONFERENCE RESPONSIBILITIES MAY RESULT IN
               SANCTIONS.

       1.      Attendance of Parties, Trial Counsel, and Carriers Required. Each party must

attend the settlement conference in person, accompanied by that party's lead trial attorney.

Counsel must be fully knowledgeable concerning the facts of the case, relevant law, and the

progress of the case to date, including settlement discussions.

               a.         If a party is a corporation, union, government entity, or other non-natural

       person, it must send a decision-maker with knowledge of the case and responsibility for

       determining the amount of any ultimate settlement; that is, a person who decides what

       settlement authority to give to counsel, not a person who has received, or must seek,

       authority from someone else within the organization.

               b.         If a party or party representative does not speak English, counsel must

       arrange for an interpreter to attend the conference and provide simultaneous translation.

               c.         If liability insurance is involved, each relevant carrier must send a decision-
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       maker with knowledge of the case and responsibility for determining the amount of the

       ultimate settlement (or the carrier's portion thereof).

               d.     If a party fails to attend the settlement conference with all of the required

       persons, that party may be required to reimburse the other parties for their time and travel

       expenses or face other sanctions.

       2.      Pre-Conference Settlement Discussion Required. The purpose of a Court-facilitated

settlement conference is to settle the case – not simply to begin a settlement dialog. The Court

normally holds only one settlement conference per case. The Court therefore requires that,

promptly after receipt of this Order, the parties conduct at least one good-faith settlement

discussion, in person or by telephone, and that each party convey to each opposing party at

least one good-faith settlement demand or offer, in advance of the deadline, set forth below,

for submitting confidential settlement letters. Past settlement negotiations may not be relied

upon to satisfy this requirement. Counsel should continue such discussions among themselves

prior to the conference so as to clarify issues, narrow disputes, and otherwise make the conference

as efficient and meaningful as possible.

       3.      Confidential Settlement Letter. No later than one week (seven calendar days) before

the conference, each party shall submit a confidential settlement letter to chambers by email,

addressed to Moses_NYSDChambers@nysd.uscourts.gov, marked "Confidential Material for Use

Only at Settlement Conference." Do not file the confidential settlement letter on ECF. Do not

send copies to adverse parties unless all parties have agreed to exchange their letters.

Settlement letters are limited to six pages, not including any exhibits, which are permitted but

should be kept to a minimum. Each letter should contain:

               a.     A summary of the relevant facts and law, focusing on the issues most

       pertinent to settlement. For example, if liability depends on an uncertain legal issue, the


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        parties' letters should identify that issue and any key case law or statutes. Conversely, if

        liability is not seriously contested, the letters should focus on damages or other remedies.

                b.      A candid assessment of the strengths and weaknesses of the case, including

        affirmative defenses, together with counsel's realistic assessment of its settlement value or

        range. If there are any extra-legal impediments to settlement, note them here.

                c.      A brief description of settlement negotiations to date, including the date and

        time of the parties' last good-faith settlement discussion and the terms of each party's most

        recent demand or offer.

                d.      Any other information likely to be helpful to the settlement process.

        4.      Acknowledgment Form. On the same date that the confidential settlement letters

are due, each party shall submit the attached Acknowledgment Form to chambers by email, and

serve it on all other parties, identifying the individuals who will attend the settlement conference.

Do not file the Acknowledgment Form on ECF.

        5.      Conduct of the Conference. All proceedings at the settlement conference will be

confidential. Discussions are "off the record," and may not be used in discovery or at trial. The

Court will function as a mediator. Efficient use of this process requires that parties and counsel be

prepared for the conference and candid with the Court. At the outset of the conference each party

may make a brief presentation in the presence of all parties and counsel. Since the purpose of the

conference is to facilitate settlement – not to try the case – presenters are requested to address their

remarks directly to the opposing party and to focus on the issues most relevant to settlement.

Following the initial joint session, the Court will work separately with each side in private. During

these sessions the Court may address questions directly to the parties (in the presence of their

counsel) and will expect candid responses. In addition, all parties should be prepared to disclose



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their legal fees and costs to date and their estimates of fees and costs through judgment. Additional

joint sessions may be convened if likely to advance the goal of settlement.

        6.      Requests to Reschedule the Conference or Modify these Procedures. Requests to

reschedule the settlement conference, or to modify the page limits, attendance requirements, or

other provisions of this Order, must be made by letter-motion, filed via ECF in accordance with

the Individual Practices of Judge Moses, as soon as the need for the adjournment or modification

arises and in any event at least one week (seven calendar days) before the scheduled conference.

Requests for adjournment must include two proposed dates, acceptable to all parties and counsel,

for the rescheduled conference. Before proposing dates, counsel are advised to call chambers to

determine the Court's availability. Requests to modify the attendance requirements will be granted

only on a showing of significant hardship. If the parties settle the case prior to the scheduled

conference, they must promptly so inform the Court by letter, filed via ECF, stating whether the

settlement requires Court approval and, if not, how much time the parties require to submit a

stipulation of dismissal to the district judge.

        7.      No Effect on Other Deadlines. Neither the scheduling of a settlement conference

nor any adjournment affects the parties' other litigation deadlines or obligations.

Dated: New York, New York                         SO ORDERED.
       December 20, 2024

                                                  ________________________________
                                                  BARBARA MOSES
                                                  United States Magistrate Judge




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                  ACKNOWLEDGMENT FORM-SETTLEMENT CONFERENCE

Counsel of record for each party must complete and sign this form and email it to the Court at
Moses_NYSDChambers@nysd.uscourts.gov, with copies sent simultaneously to all other parties, no later
than one week (seven calendar days) before the parties' scheduled settlement conference.

Name of Case: _______________________________________________________________________

Docket No.: _________________________ Date of Sett. Conference: __________________________

Name of Party Submitting this Form: _______________________________________ ☐ Pltf. ☐ Def.

1. Acknowledgment by Counsel. I am lead trial counsel for the party listed above. I acknowledge my
obligation to attend the settlement conference in this action in person, accompanied by my client (if the
client is a natural person), or by a client representative (if the client is a non-natural person) who is a
decision-maker with knowledge of the case and responsibility for determining the amount of any ultimate
settlement. I further acknowledge that if insurance carrier approval, consent, or funding is required for my
client to settle this action, a representative of each relevant carrier, who is a decision-maker with knowledge
of the case and responsibility for determining the amount of any ultimate settlement (or the carrier's portion
thereof) must attend the conference.

2. Client Attendance. * Check one box:
☐ My client is a natural person. My client will attend the settlement conference in person.
☐ My client is a corporation, union, agency or other non-natural person. The following individual will
attend the settlement conference in person as a representative of my client:

Name: ______________________________________________________________________________

Title: ________________________________________________________________________________

3. Carrier Attendance.* Check one box:
☐ No insurance carrier approval is required for my client to settle this case.
☐ The following individual will attend the settlement conference in person as a representative of the
following insurance carrier:

Name: ______________________________________________________________________________

Title/Name of Carrier: __________________________________________________________________


____________________________                        ____________________________________________
Date                                                Signature of Lead Trial Counsel

                                                    ____________________________________________
                                                    Print Name of Lead Trial Counsel


*
 If you represent more than one party or require approval from more than one carrier you must submit
attendance information for all clients and carriers.
